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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 MARISSA GIANNERINI,

       Plaintiff,

 v.                                        CASE NO: 6:22-cv-02075-RBD-LHP



 EMBRY-RIDDLE AERONAUTICAL
 UNIVERSITY, INC.,

       Defendant.
                                     /

       AMENDED NOTICE OF DEPOSITION OF CHARLIE SEVASTOS
       PLEASE TAKE NOTICE, that Plaintiff Marissa Giannerini, by and
 through her undersigned counsel and pursuant to Rule 30, Federal Rules of Civil
 Procedure, will take the deposition by oral examination of Charlie Sevastos.
 The deposition will commence on Thursday, January 25, 2024, at 9:00 a.m.
 EST, at the offices of Southern Reporting Company located at 747 South
 Ridgewood Avenue, Suite 107, Daytona Beach, Florida 32114, before a notary
 public or some other person(s) authorized to administer oaths, recorded by
 stenographic means by such officer(s) until said testimony shall be completed.
 The deposition will be taken for the purposes of discovery and/or for use as
 evidence in the above-captioned case, and other purposes in accordance with the
 Federal Rules of Civil Procedure.
 Dated: January 3, 2024                    Respectfully Submitted,

                                           /s/ Ronald P. Angerer, II
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                                            Ronald P. Angerer, II, B.C.S.
                                            Florida Bar No. 0104874
                                            Neil L. Henrichsen
                                            Florida Bar No. 111503
                                            Henrichsen Law Group, P.L.L.C.
                                            301 W. Bay Street, Suite 1400
                                            Jacksonville, FL 32202
                                            Phone: 904-381-8183
                                            rangerer@hslawyers.com
                                            nhenrichsen@hslawyers.com
                                            service@hslawyers.com

                                            Attorneys for Plaintiff



                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of January 2024, the foregoing
 has been furnished by electronic mail only to:

  Allison O. Kohn
  Lauren Fenton-Valdivia
  Carlton Fields, P.A.
  CityPlace Tower, Suite 1200
  525 Okeechobee Boulevard
  West Palm Beach, FL, 33401-6350
  Akahn@carltonfields.com
  lfenton-valdivia@carltonfields.com
  dsaltzmann@carltonfields.com
  wpbecf@cfdom.net
  dharrell@carltonfields.com
  sjones@carltonfields.com
  (561) 659-7070

                                            By:    /s/ Ronald P. Angerer, II
                                                   Ronald P. Angerer, II, B.C.S.




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